Case 2:18-cv-03886-DSF-KS Document 32 Filed 10/05/18 Page 1 of 3 Page ID #:165



 1   Mike Arias (CSB #115385)
       mike@asstlawyers.com
 2   Alfredo Torrijos (CSB #222458)
      alfredo@asstlawyers.com
 3   ARIAS SANGUINETTI WANG & TORRIJOS, LLP
     6701 Center Drive West, 14th Floor
 4   Los Angeles, California 90045
     Telephone: (310) 844-9696
 5   Facsimile: (310) 861-0168
 6   Steven L. Woodrow*
       swoodrow@woodrowpeluso.com
 7   Patrick H. Peluso*
       ppeluso@woodrowpeluso.com
 8   Taylor T. Smith*
       tsmith@woodrowpeluso.com
 9   WOODROW & PELUSO, LLC
     3900 East Mexico Avenue, Suite 300
10   Denver, Colorado 80210
     Telephone: (720) 213-0675
11   Facsimile: (303) 927-0809
12   *Pro Hac Vice
13   Attorneys for Plaintiff and the alleged Classes
14

15                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
16
                               WESTERN DIVISION
17

18    Michael Imamura, individually and on
      behalf of all others similarly situated,
19                                                 Case No. 2:18-cv-03886-DSF-KS
                                Plaintiff,
20                                                  NOTICE OF SETTLEMENT
            v.
21
      Eaton Corporation, an Ohio                    Complaint Filed: May 9, 2018
22    corporation,
23                                Defendant.
24

25

26
27

28

     NOTICE OF SETTLEMENT                    -1-               Case No. 2:18-cv-03886-DSF-KS
Case 2:18-cv-03886-DSF-KS Document 32 Filed 10/05/18 Page 2 of 3 Page ID #:166




 1         Plaintiff Michael Imamura (“Plaintiff” or “Imamura”) hereby provides notice
 2   that the Parties have reached a settlement in this case and states as follows:
 3         1. Plaintiff and Defendant have engaged in settlement discussions and have
 4             reached an agreement to resolve the individual claims brought by
 5             Plaintiff. The claims of any putative, unidentified class members will be
 6             dismissed without prejudice while Plaintiff’s individual claims will be
 7             dismissed with prejudice.
 8         2. The Parties are presently working to finalize a settlement agreement and
 9             believe a Notice of Dismissal will be filed within thirty (30) days.
10

11                                           Respectfully submitted,
12

13
     Dated: October 5, 2018                  MICHAEL IMAMURA,

14

15
                                      By:         /s/ Patrick H. Peluso
16                                                     Patrick H. Peluso

17                                           WOODROW & PELUSO, LLC

18

19
20

21

22

23

24

25
26

27

28

      NOTICE OF SETTLEMENT                  -2-                    Case No. 2:18-cv-03886-DSF-KS
Case 2:18-cv-03886-DSF-KS Document 32 Filed 10/05/18 Page 3 of 3 Page ID #:167




 1                             CERTIFICATE OF SERVICE
 2         I, Patrick H. Peluso, an attorney, hereby certify that on October 5, 2018, I
 3   caused the above and foregoing papers to be served upon counsel of record by filing
 4   such papers via the Court’s ECF system.
 5

 6
                                         /s/ Patrick H. Peluso

 7

 8
 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25
26

27

28

     NOTICE OF SETTLEMENT                 -3-                    Case No. 2:18-cv-03886-DSF-KS
